Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4110 Filed 01/19/21 Page 1 of 48




IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
 TIMOTHY KING, MARIAN
 SHERIDAN,
 JOHN HAGGARD, CHARLES
 RITCHARD,
 JAMES HOOPER, DAREN
 RUBINGH,
                                              CASE NO. 2:20-cv-13134
       Plaintiffs,                            Hon. Linda V. Parker
 v.                                           Mag. R. Steven Whalen
 GRETCHEN WHITMER, in her official
 capacity as the Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF
 STATE CANVASSERS,
       Defendants,
 and
 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,
      Intervenor-Defendants.
       Defendant.




  PLAINTIFFS’ OPPOSITION TO THE CITY OF DETROIT’S MOTION
 FOR SANCTIONS, FOR DISCIPLINARY ACTION, FOR DISBARMENT
   REFERRAL AND FOR REFERRAL TO STATE BAR DISCIPLINARY
  BODIES AND TO THE DEFENDANTS WHITMER AND BENSON’S
 CONCURRENCE IN CITY OF DETROIT’S MOTION FOR SANCTIONS
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4111 Filed 01/19/21 Page 2 of 48




         The City of Detroit’s Motion for Sanctions, for Disciplinary Action, for

Disbarment Referral And for Referral To State Bar Disciplinary Bodies is baseless,

procedurally improper, and is an attempt to create a dangerous precedent that could

dissuade future civil rights and voting rights plaintiffs from bringing their disputes to

court. It should be denied, and the City of Detroit should be ordered to pay Plaintiffs’

fees and costs incurred in opposing the motion.


                                        Issue Presented



Whether Plaintiffs and their’ counsel should be sanctioned under Rule 11, Plaintiffs’
counsel disbarred or referred to State Bar Disciplinary Bodies: No.


                                    Controlling Authority
Cases

Beverly v. Sherman, No. 2:19-CV-11473, WL 2556674 (E.D. Mich. May 20, 2020)
DeBauche v. Trani, 191 F.3d 499 (4th Cir.1999)
FM Indus. v. Citicorp Credit Servs., 614 F.3d 335 (7th Cir. 2010) (citing Claiborne v. Wisdom,
414 F.3d 715 (7th Cir. 2005)

In re Ruben, 825 F.2d 977 (6th Cir. 1987)
Jensen v. Phillips Screw Co., 546 F.3d 59 (1st Cir. 2008).
Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45(2011) (citing Bell Atlantic Corp. v.
Twombly, 550 U.S. 544, 570(2007).
Matter of Yagman, 796 F.2d 1165 (9th Cir. 1986)

MEMC Elec. Mat'ls, Inc. v. Mitsubishi Mat'ls Silicone Corp., 420 F.3d 1369 (Fed.Cir.2005)


                                                1
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4112 Filed 01/19/21 Page 3 of 48




Red Carpet Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642 (6th Cir. 2006)

Ridder v. City of Springfield, 109 F.3d 298 (6th Cir. 1997)
Steinert v. Winn Group, Inc., 440 F.3d 1214 (10th Cir.2006)

Thurmond v. Wayne Cnty. Sheriff Dept., 564 F. App’x 823 (6th Cir. 2014)

United States v. Ross, 535 F.2d 346
Young v. Smith, 269 F. Supp. 3d 251 (3d Cir. 2017)

Statutes & Court Rules
28 U.S.C. § 1927

Fed. R. Civ. P. 54(d)(2)
MCLS § 168.726


                                       Introduction
       Defendants do not allege specific deficiencies in pleadings; instead they attack

the credibility of evidence attached to the complaint, whether by Declaration or

Affidavit – despite the Plaintiffs submitting evidence for nearly every paragraph in the

Amended Complaint, with over 200 affidavits and declarations, and never having an

evidentiary hearing.

       Election integrity should be a non-partisan issue. In late December of 2019,

three Democrat Senators, Warren, Klobuchar, Wyden and House Member Mark Pocan

wrote about their ‘particularized concerns that secretive & “trouble -plagued companies”’

“have long skimped on security in favor of convenience,” in the context of how they described

the voting machine systems that three large vendors – Election Systems & Software,

                                              2
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4113 Filed 01/19/21 Page 4 of 48




Dominion Voting Systems, & Hart InterCivic – collectively provide voting machines &

software that facilitate voting for over 90% of all eligible voters in the U.S.” (See Am.

Compl. at p. 59, par. G, citing Ex. 16).

      Defendants’ Motion reeks of political smear tactic and promotes a one-sided

political viewpoint, rather than seeking to uphold any professional standards governing

lawyers. Actually, it is the conduct of Defendants and their counsel that violates the

code of legal ethics. The City’s request for sanctions must be denied, for multiple

reasons explained in the Brief in Support below, filed pursuant to Local Rule

7.1(d)(1)(A). The State Defendants’ passing request for “sanctions and/or costs and

fees” is procedurally improper, as it was not made by motion with a supporting as

required under Local Rule 7.1(b) and 7.1(d)(1)(A), and likewise must be denied.

                           Procedural background

      On January 5, 2021, the City moved for sanctions under Rule 11, as well as for

the extraordinary remedy of the disbarment of SEVEN attorneys, and their referral to

state bars for disciplinary action. The City had previously moved for sanctions under

28 U.S.C. § 1927 (“Section 1927”),. (See ECF 70 and 73). On January 14, 2021, the

State Defendants filed a Consent to the City’s motion stating that they reserve the right

to file their own motion for sanction at a future date. ECF     . The “Consent” is not

a recognizable motion and adds nothing to the motion presented by the City.

      On November 25, 2020, Plaintiffs filed their Complaint. [ECF 1]. Plaintiffs

amended their complaint on November 29th and also filed a motion for a TRO [ECF
                                            3
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4114 Filed 01/19/21 Page 5 of 48




6, 7]. Since its initial filings, Plaintiffs have taken every reasonable measure to expedite

this proceeding and to terminate the proceeding once their claims were no longer viable.

In their November 29, 2020 “Emergency Motion for Declaratory, Emergency, and

Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs requested an

expedited briefing schedule, which the Court granted. ECF No. 24. On December 7,

2020, without oral argument, and based solely on the initial pleadings and responses,

the Court denied the TRO Motion (See ECF No. 62). Plaintiffs promptly appealed to

the Sixth Circuit and to the US Supreme Court. [ECF Nos. 64 and 68].

       On December 22, 2020, with these appeals pending, the State Defendants and

Intervenors moved to dismiss the Amended Complaint. [ECF Nos. 70, 72, 73] On

January 6, 2021, the US Congress “certified the election”, rendering Plaintiffs’ claims

moot. On January 14, 2020 Plaintiffs voluntary dismissed the Amended Complaint for

all Defendants and Defendant/Intervenors other than Mr. Davis. On January 17, 2021

regarding Intervenor Defendant Davis, Plaintiffs moved for voluntary dismissal ECF

No. 86-92.


                                LEGAL ARGUMENT


I.   The Requests for Rule 11 Sanctions Fail for Procedural Reasons.
       The City’s Motion for both Rule 11 sanctions and for disbarment of attorneys

and their referral to state bar associations for disciplinary action is procedurally

improper because it violates the requirement that a Rule 11 sanctions motion “must be

                                             4
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4115 Filed 01/19/21 Page 6 of 48




made separately from any other motion,” Fed. R. Civ. P. Rule 11(c)(2) (emphasis

added). The City has not cited any provision of the Federal Rules of Civil Procedure

or Local Rules authorizing such a bundling or multiple types of sanctionable relief. The

City intervened in this suit solely for the purpose of seeking sanctions—an action itself

improper. It filed its specious motion in its own improper effort to promote its own

agenda with the media and to distract from explosive evidence of voter fraud. Its

motion is far more of a crafted smear to injure the standing and reputation of the

Plaintiffs’ attorneys than one to uphold any professional standards. Indeed, the City

violated the very standards it purported to uphold by filing its spurious motion. There

is no legal or factual basis for this Court to grant the City’s requested relief. Accordingly,

because the City has submitted one motion for Rule 11 sanctions and other types of

punitive non-Rule 11 relief, the entire motion must be denied. See, e.g., Dolinka Vannoord

& Co. v. Oppenheimer & Co., 891 F. Supp. 1244, 1252 (W.D. Mich. 1995) (sanctions

denied for failure to comply with separate Rule 11 motion requirement; “In any event,

due to the uncertainty of Michigan law on the key issues in this case … sanctions would

[have] be[en] inappropriate.”); Peloza v. Capistrano United Sch. Dist., 37 F.3d 517, 524

(9th Cir. 1994) (reversing sanctions award of $32,000 and finding First Amendment

claims non-frivolous because plaintiff raised important questions of first

impression), cert. denied, 515 U.S. 1173 (1995); Milwaukee Concrete Studios, Ltd. v. Field Mfg.

Co., 8 F.3d 441 (7th Cir. 1993) (vacating sanctions because case involved issues of first

impression); United States v. Alexander, 981 F.2d 250, 253 (5th Cir. 1993) (vacating
                                              5
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4116 Filed 01/19/21 Page 7 of 48




imposition of sanctions; case presented novel issues and party's argument was

plausible); Clancy v. Mobil Oil Corp., 906 F. Supp. 42, 50 (D. Mass. 1995) (“In light of the

lack of clearly defined First Circuit precedent in this area, plaintiffs' argument … is not

entirely unfounded. … Plaintiffs' arguments therefore fall outside the reach of Rule

11.”); Fowler v. Towse, 900 F. Supp. 454, 461 (S.D. Fla. 1995) (sanctions denied for non-

frivolous argument on novel issue).

       Secondly, the City’s motion must be denied as to all attorneys who did not

actually appear or sign any pleadings in this matter. Rule 11 is concerned with the

signing of frivolous pleadings and other papers. Oliveri v. Thompson, 803 F.2d 1265, 1274

(2nd Cir. 1986). It may not be invoked against attorneys whose names appear on a

pleading but who have not signed the pleading or otherwise formally appeared in the

action. In re Ruben, 825 F.2d 977, 984, (6th Cir. 1987).

       Indeed, “[w]here plaintiff signed filed papers, but the attorney’s name appeared

on papers only in typewritten form, sanctions cannot be imposed on attorney since Rule

11 focuses only on individual who signed document in question. White v. American

Airlines, Inc., 915 F.2d 1414, 17 Fed. R. Serv. 3d (Callaghan) 1199, 6 I.E.R. Cas. (BNA)

1086, 116 Lab. Cas. (CCH) ¶56400, 1990 U.S. App. LEXIS 17201 (10th Cir.

1990). Typewritten name is not signature for purpose of Rule 11, and therefore senior

partner of law firm which represented defendants and whose name was typed on

pleadings but who did not personally sign them is not subject to Rule 11 sanctions.

Giebelhaus v. Spindrift Yachts, 938 F.2d 962, 91 Cal. Daily Op. Service 5352, 91 D.A.R.
                                             6
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4117 Filed 01/19/21 Page 8 of 48




8248, 19 Fed. R. Serv. 3d (Callaghan) 1364, 1991 U.S. App. LEXIS 14212 (9th Cir.

1991).”

Id. See also Commentary, USCS Fed Rules Civ Proc R 11.

      The Sixth Circuit in In re Ruben cited to Oliveri v. Thompson, 803 F.2d 1265, 1274

(2nd Cir. 1986) which held that:

      Rule 11, requires that "every pleading, motion, and other paper of a party
      represented by an attorney shall be signed" by the attorney. It then
      provides that:

      the signature of an attorney or party constitutes a certificate by him that
      he has read the pleading, motion, or other paper; that to the best of his
      knowledge, information, and belief formed after reasonable inquiry it is
      well grounded in fact and is warranted by existing law or a good faith
      argument for the extension, modification, or reversal of existing law, and
      that it is not interposed for any improper purpose, such as to harass or to
      cause unnecessary delay or needless increase in the cost of litigation.

      Fed. R. Civ. P. 11.

      …From this language it is apparent that a sanction for attorneys' fees may
      be imposed either on the attorney who signs a paper, or on the party he
      represents, or on both. The key to rule 11 lies in the certification flowing
      from the signature to a pleading, motion, or other paper in a lawsuit. While
      a continuing prohibition against dilatory litigation is imposed by § 1927,
      see Roadway Express, 447 U.S. at 757; Browning Debenture Holders' Committee,
      560 F.2d at 1088, rule 11, by contrast, deals with the signing of particular
      papers in violation of the implicit certification invoked by the signature.

      Rule 11 applies only to the initial signing of a "pleading, motion, or other
      paper". Limiting the application of Rule 11 to testing the attorney's
      conduct at the time a paper is signed is virtually mandated by the plain
      language of the rule. Entitled "Signing of Pleadings, Motions, and Other
      Papers; Sanctions", the rule refers repeatedly to the signing of papers; its
      central feature is the certification established by the signature.

Oliveri v. Thompson, 803 F.2d 1265, 1274 (2nd Cir. 1986)
                                            7
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4118 Filed 01/19/21 Page 9 of 48




      For this reason alone, the City’s motion against all counsel other than local

counsel, must be denied. The only signator or appearance made in the short life of

this case has been by Plaintiffs’ local counsel. No other counsel signed any pleadings.

Indeed, the City recognizes that E. D. Mich. LR 83.20(a)(1) defines “practice in this

court,” to include: “appear in, commence, conduct, prosecute, or defend the action or

proceeding; appear in open court; sign a paper; participate in a pretrial conference;

represent a client at a deposition; or otherwise practice in this court or before an

officer of this court.” (See ECF 78, p. 37). None of that applies to any of Plaintiffs’

non-local counsel.

II. Rule 11(c)(2)’s Safe Harbor Notice Requirement and Plaintiff’s Voluntary
Dismissal of Complaint within 21 Days.
As a preliminary matter, Rule 11(c)(2) sets forth that:


      (2) Motion for Sanctions. A motion for sanctions must be made separately
      from any other motion and must describe the specific conduct that
      allegedly violates Rule 11(b). The motion must be served under Rule 5,
      but it must not be filed or be presented to the court if the challenged
      paper, claim, defense, contention, or denial is withdrawn or appropriately
      corrected within 21 days after service or within another time the court
      sets. If warranted, the court may award to the prevailing party the
      reasonable expenses, including attorney’s fees, incurred for the motion.

 USCS Fed Rules Civ Proc R 11.
      The City’ Rule 11 motion claims regarding frivolous legal claims and

unsupported factual allegations must be dismissed for failure to provide 21-days’ notice

and opportunity for response under Rule 11(c)(2). Plaintiffs moved to voluntarily

dismiss this case (and thereby withdraw all pleadings) on January 14, 2021. The City
                                            8
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4119 Filed 01/19/21 Page 10 of 48




 served a copy of notice of an anticipated Motion on Plaintiffs’ counsel on December

 15, 2020. That “notice” makes only conclusory statements and blanket assertions

 regarding the alleged violations of Rule 11 and fails altogether to “describe the specific

 conduct that allegedly violates Rule 11(b).” Id. Further, it fails to identify any specific

 factual allegation or witness that lacks evidentiary support. Instead, it is only in the

 accompanying Brief, filed on January 5, 2021, that the City first identifies the “specific

 conduct” that allegedly violates Rule 11. For r example, the Motion contains only a

 single sentence identifying specific contested factual allegations, ECF No. 78 at vii,

 while the Brief spends 13 pages.

        In Hadges & Kunstler v. Yonkers Racing Corp., 48 F.3d 1320, 1327-28 (2d Cir. 1995)

 the Second Circuit commented on the amendment, as follows:

        Of particular relevance here, the 1993 amendment establishes a "safe
        harbor" of 21 days during which factual or legal contentions may be
        withdrawn or appropriately corrected in order to avoid sanction. Fed. R.
        Civ. P. 11(c)(1)(A).
        Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (E.D. N.Y. 1995)

        In addition, as the court in Cromwell v. Cummings, supra, 65 Cal. App. 4th Supp. 10,

 recognized, "[a]pplication of the doctrine of substantial compliance would be

 inconsistent with the plain language of the 'safe harbor' provision, which has been

 strictly construed as an absolute perquisite to an award of sanctions under revised rule

 11 of the Federal Rules of Civil Procedure (28 U.S.C). Barnes v. Department of Corrections,

 74 Cal. App. 4th 126, 135-136, 87 Cal. Rptr. 2d 594, 602, (Ca. App. 1999)(Citing Ridder


                                              9
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4120 Filed 01/19/21 Page 11 of 48




 v. City of Springfield, supra, 109 F.3d at p. 296.)" (Id. at p. Supp. 15.) Indeed, the Advisory

 Committee Notes to rule 11 state: "To stress the seriousness of a motion for sanctions

 and to define precisely the conduct claimed to violate the rule, the revision provides

 that the 'safe harbor' period begins to run only upon service of the motion. In most

 cases however, counsel should be expected to give informal notice to the other party, whether in

 person or by a telephone call or letter, of a potential violation before proceeding to

 prepare and serve a Rule 11 motion." (Fed. Rules Civ. Proc., Rule 11, 28 U.S.C.A., supra,

 Advisory Com. Notes, 1993 amendments, p. 284, italics added.)

             This Court must, at a minimum, deny the Motion with respect to any argument,

 claim or contention first described in the City’s Brief, as protected under the Rule

 11(c)(2) safe harbor, and should deny the Motion as a whole based on the City’s filing

 of the Motion on January 5th, 2020, because Defendants’ filed dismissals to this Court

 for all parties on January 14, 2020, and regarding Intervenor Defendant Davis on

 January 17th, 2020.

             As explained above, Plaintiffs promptly moved to voluntarily dismiss this case in

 its entirety, including pending appeals, within the 21-day notice period of the filing of

 the motion on January 5, 2020, (See ECF 78) and (ECF 86-92).

 III.        Rule 11(b)(1): The Complaint Was Properly Filed with Proper Purpose
        A.     Plaintiffs Did Not Seek to Harass the City




                                                 10
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4121 Filed 01/19/21 Page 12 of 48




        Even if the City’s Motion were not procedurally barred, Plaintiffs and their

 counsel have not violated Rule 11. Rule 11 provides that "sanctions may be imposed if

 a reasonable inquiry discloses [that a] pleading, motion, or paper is (1) not well grounded

 in fact, (2) not warranted by existing law or a good faith argument for the extension,

 modification or reversal of existing law, or (3) interposed for any improper purpose

 such as harassment or delay." Sony/ATV Music Publ'g LLC v. 1729172 Ont., Inc., 2018

 U.S. Dist. LEXIS 140856, *36-37, 2018 WL 4007537, (citing Merritt v. Int'l Ass'n of

 Machinists & Aerospace Workers, 613 F.3d 609, 626 (6th Cir. 2010) (citation omitted)....

 ‘In order for conduct to be considered so "unreasonable" as to warrant sanctions, that

 conduct must be "relatively egregious."’ Id. (citing Fulmer v. MPW Indus. Servs., Inc., 2006

 U.S. Dist. LEXIS 42038, 2006 WL 1722433 at *5 (M.D. Tenn. June 21, 2006) (Trauger,

 J.).

        "'A district court abuses its discretion if it bases its ruling on an erroneous view

 of the law or a clearly erroneous assessment of the evidence.'" Shirvell v. Gordon, 602

 Fed. Appx. 601, 604 (6th Cir. 2015) (citing Merritt v. Int'l Ass'n of Machinists and Aerospace

 Workers, 613 F.3d 609, 619 (6th Cir. 2010) (quoting Brown v. Raymond Corp., 432 F.3d

 640, 647 (6th Cir. 2005)).

        Plaintiffs did not file for “any improper purpose, such as to harass, cause

 unnecessary delay, or needlessly increase cost of litigation.” Fed. R. Civ. P. Rule

 11(b)(1). First, the City of Detroit was an intervenor in this proceeding, not a

 defendant; nor was the City of Detroit a necessary party. Plaintiffs did not seek any
                                              11
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4122 Filed 01/19/21 Page 13 of 48




 relief from the City of Detroit, or its officials or employees. The City voluntarily

 intervened purportedly to “protect its reputation” and its own perception of election

 integrity. See ECF No. 5 at 4. But the City was not accused of conducting elections

 improperly. It does not conduct elections for the President of the United States. States,

 through their counties, do. So while Detroit sits in Wayne County, and allegations were

 made concerning fraudulent election activity in that county, the City of Detroit has no

 role in the matter, and it should not have intervened.

       Apart from its serial motions for sanctions, the City of Detroit has not made any

 unique legal arguments, but simply parroted the same arguments made by Defendants

 and other intervenors. Accordingly, Plaintiffs cannot be deemed to have filed for

 purposes of harassing the City, and in fact, opposed the City’s intervention. See ECF

 No. 5 at 1.


       B. Public Statements and Tweets By Co-Counsel Do Not Demonstrate
 That Plaintiffs or Counsel Had Improper Purpose but State Defendants’
 Statements Call into Question the Propriety of Defendants’ Purpose.
       The City’s speculative attribution of an improper motive attributable to Plaintiffs’

 counsel because of the media appearances of Lin Wood and Sidney Powell do not

 implicate Rule 11(b)(1), as neither Mr. Wood nor Ms. Powell was a signer to the

 pleadings. The tweets referenced in the City of Detroit’s outlandish character

 assassination of plaintiffs’ counsel have nothing to do with the merits of the suit, the

 claims set forth in this Court, or the evidence provided by plaintiffs’ counsel in support


                                             12
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4123 Filed 01/19/21 Page 14 of 48




 of their claims. Put frankly, they are entirely irrelevant to a Rule 11 consideration,

 particularly because no signer was the author or instigator of this media content. The

 actual signers of the pleading did not produce the tweets, reference the tweets, or

 retweet the tweets and have not been accused of making improper media appearances.

        The Fourth Circuit in In re Kunstler held that any improper purpose must be

 “derived from the motive of the signer in pursuing the suit.” 914 F.2d 505, 518–19 (4th

 Cir. 1990) (emphasis added). A Court may consider a signer’s subjective beliefs in the

 purpose analysis, solely if they so clearly demonstrate the signer knew the motion was

 baseless, and despite this knowledge, proceeded to file. Id at 519. Otherwise, the Court

 must judge the conduct of counsel under an objective standard of reasonableness. Id.

 at 518. Any evidence that cannot be viewed by a court without fear of misinterpretation,

 or that involves difficult determinations of credibility, is not objective for purposes of

 a Rule 11(b)(1) analysis. Id. at 519. Because neither Mr. Wood nor Ms. Powell were

 signers to the pleading, this Court may not assess their subjective beliefs in the improper

 purpose analysis; and there is not even a viable inference that local counsel had any

 improper purpose.

        Even if the Court were to improperly consider the tweets, an evidentiary hearing

 would be required to assess the veracity of the media statements and their role in

 impacting the signer’s decision to file the suit. As “determinations of credibility are best

 made after an evidentiary hearing,” and because these media statements are the opinions

 of attorneys who did not sign the pleading, this Court cannot assume improper purpose
                                             13
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4124 Filed 01/19/21 Page 15 of 48




 from extrajudicial statements that are not objective, nor were made by the signer. Id. at

 519-20. Plaintiffs’ counsel welcomes the opportunity to participate in an evidentiary

 hearing to consider the credibility of the evidence presented before this Court.

        The State Defendants address Sidney Powell’s tweets regarding election integrity

 issues and concerns about getting an opportunity to be heard in court in their Motion

 for Sanctions. (See ECF No. 78, pp. 6, 10). Defendants cite tweets alleging that “those

 false messages are deliberately advanced by these attorneys to support their goals of

 undermining our democracy” but by threatening plaintiffs and counsel over messages,

 Defendants undermine the Due Process Clause of the Constitution, “No person

 shall...be deprived of life, liberty, or property, without due process of law...”

 Defendants, however, have instead put out ,media headlines and talking points and

 messages under the official color of law to attempt punish Ms. Powell or other counsel over

 messages on election integrity or the lack thereof - while they had not yet filed or put

 Plaintiffs on notice of a Rule 11(c)(2) Motion for Sanctions, and appear to be working

 with one political party rather than from a position of neutrality incumbent on official

 government actors.

        On December 22, 2020, the Michigan Attorney General is quoted in public

 statements on making assertions that, under color of law, she will seek to get counsel

 disbarred, where she is using her public office and appears that it is coordinated with

 DNC Counsel’s statements from December 15, 2020.



                                             14
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4125 Filed 01/19/21 Page 16 of 48




         On December 15, 2002, the City emailed a notice of its intent to file sanctions

 motions, purportedly to provide “notice to correct” under Rule 11 - but that December

 15th notice appears instead to be coordinated with public statements put out that same

 day by both the Michigan Attorney General and counsel for the DNC. Specifically,

 they commented on the need to ensure Plaintiffs’ and Plaintiffs’ counsel “pay a price”

 for filing election integrity cases. “It’s time for this nonsense to end,” the City’s lawyer

 David Fink told Law & Crime in a phone interview. “The lawyers filing these frivolous

 cases that undermine democracy must pay a price,” Fink added.

         Indeed, even before the City’s motion had been filed, it was tweeted out by Marc

 Elias, an attorney from the Washington-based firm Perkins Coie who has regularly

 intervened in these cases on behalf of the Democratic Party and the Biden campaign.1

         But that’s not all. Not to be undone by counsel for the City and the DNC, the

 Michigan Attorney General made the following slanderous and outrageous official

 statement concerning the filings in this case in which her office appears as counsel of

 record for the State Defendants:

         “These are flagrant lies that Ms. Powell is submitting to, of all places, the
         United States Supreme Court in some cases. It’s disturbing and it
         undermines our entire profession, and she has to be held accountable,”



 1
   Detroit Is Trying to Get Sidney Powell Fined, Banned from Court, and Referred to the Bar for Filing the ‘Kraken’,
 lawandcrime.com, by Adam Klasfeld, December 15, 2020https://lawandcrime.com/2020-election/detroit-is-trying-
 to-get-sidney-powell-fined-banned-from-court-and-referred-to-the-bar-for-filing-the-kraken/)



                                                         15
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4126 Filed 01/19/21 Page 17 of 48




        Nessel told Detroit reporters. “We’d be asking there be action taken
        against her law license including potential disbarment.”2

        It appears that their primary motivation in seeking to intervene in this case was

 to file serial sanctions motions and to defend its reputation, a purpose that has been

 held to be an impermissible and not to provide standing for filing Rule 11

 sanctions. See, e.g., New York News, Inc. v. Kheel, 972 F.3d 482, 488 (2d Cir. 1992) (finding

 aggrieved non-party lacked standing to file Rule 11 motion for purportedly baseless

 allegations in plaintiffs’ complaint).Accordingly, there is no basis for this Court to apply

 Rule 11 sanctions to non-counsel of record for public statements made. On the

 contrary, it is defense counsel whose motives for bringing the instant motion and whose




 2
  Michigan Attorney General Wants to Disbar Sidney Powell, Pro-Trump Attorneys: Michigan is
 moving to disbar Sidney Powell and other pro-Trump attorneys for the work exposing credible
 accusations of voter fraud. The National File, By Frankie Stockes by Frankie Stockes December 26,
 2020.

 https://nationalfile.com/michigan-attorney-general-wants-to-disbar-sidney-powell-pro-
 trump-attorneys/; see also “The Democratic attorney general also plans to pursue court costs
 and fees and to file complaints with the attorney grievance commission, Nessel told reporters
 Tuesday.” Sanctions sought against lawyers who pushed to overturn Michigan's election, the
 Detroit News, by Beth LeBlanc and Craign Mauger, December 22, 2020

 https://www.detroitnews.com/story/news/local/michigan/2020/12/22/nessel-seek-
 sanctions-against-lawyers-challenging-election-results/4009929001/

 The Motor City’s motion asks a federal judge to fine the lawyers, ban them from practicing in the
 Eastern District in Michigan and refer them to the Wolverine State’s bar for grievance proceedings.)




                                                  16
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4127 Filed 01/19/21 Page 18 of 48




 contrary, it is the public statements made by counsel for the City of Detroit and the

 State of Michigan, under color or law, which should be closely scrutinized.


       C. Plaintiffs Have Not Caused Unnecessary Delay or to Unnecessarily
 Increased Costs
       Plaintiffs have taken every reasonable measure to expedite this proceeding and

 to terminate the proceeding once their claims were no longer viable while seeking relief

 for their clients. In their November 29, 2020 “Emergency Motion for Declaratory,

 Emergency, and Permanent Injunctive Relief” (“TRO Motion”), ECF No. 7, Plaintiffs

 requested an expedited briefing schedule, and agreed to forego an evidentiary hearing

 and discovery specifically because of the time pressure on the relevance of the claims

 related to election fraud which by their very nature are challenging to bring because of

 the short time available to file suit. This Court granted the request for expedited

 briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

 the TRO Motion a mere eight days later on December 7, 2020. (See ECF No. 62).

 Further, thereafter Plaintiffs expeditiously moved for voluntary dismissal of the

 November 29, 2020 Amended Complaint, ECF No. 6, because the relief requested in

 the Amended Complaint appears to now have become moot.

       Plaintiffs moved as expeditiously as possible, while acting in the best interests of

 their clients, from the outset through the termination of this proceeding, it is the City

 that seeks to prolong this proceeding with meritless claims for sanctions, supported



                                            17
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4128 Filed 01/19/21 Page 19 of 48




 solely by incendiary accusations and ad hominem attacks on Plaintiffs’ counsel and

 willful misrepresentations of Plaintiffs’ claims and motives.


 V. Rule 11(b)(2), (b)(3): Plaintiffs Legal Claims Had Evidentiary Support and
 Were Not Frivolous
        The commentary applicable to determining Rule 3.1. Meritorious Claims and

 Contentions explains:


        The filing of an action or defense or similar action taken for a client is not
        frivolous merely because the facts have not first been fully substantiated
        or because the lawyer expects to develop vital evidence only by discovery.
        What is required of lawyers is that they inform themselves about the facts
        of their clients’ cases and the applicable law and determine that they can
        make good-faith arguments in support of their clients’ positions.
 MRPC 3.1. ‘As amended, the rule "stresses the need for some pre-filing inquiry into

 both the facts and the law to satisfy the affirmative duty imposed." Merritt v. Int'l Ass'n

 of Machinists & Aero. Workers, 613 F.3d 609, 626 (6th Cir. 2010), (citing Id. (citing Fed. R.

 Civ. P. 11 advisory committee's note to the 1983 amendment); see also Century Prods., Inc.

 v. Sutter, 837 F.2d 247, 250 (6th Cir. 1988)).

        Rule 11 is “not intended to chill an attorney’s enthusiasm or creativity in pursuing

 factual or legal theories,” and “[t]he court is expected to avoid using the wisdom of

 hindsight and should test the signer’s conduct” based on what was “reasonable to

 believe” at the time of filing. INVST Financial Group, Inc. v. Chem-Nuclear Systems, Inc.,

 815 F.2d 391, 401 (6th Cir. 1987), cert. denied, 484 U.S. 927 (1987). (quoting Fed. R.

 Civ.   P.   Rule    11.   Notes    of   Advisory     Committee      on    Rules    --   1983

                                              18
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4129 Filed 01/19/21 Page 20 of 48




 Amendment). Plaintiffs’ central claim -- whether Presidential Electors had standing to

 bring federal constitutional claims under the Electors Clause and other constitutional

 provisions -- a was a novel claim for which there was no controlling authority in the

 Sixth Circuit, but for which there was support in other circuits.

        As the Supreme Court has observed in a similar statute providing for recovery

 of attorney’s fees for frivolous claims:


        [I]t is important that a district court resist the understandable temptation
        to engage in post hoc reasoning by concluding that, because a plaintiff did
        not ultimately prevail, his action must have been unreasonable or without
        foundation. This kind of hindsight logic would discourage all but the most
        airtight claims, for seldom can a prospective plaintiff be sure of ultimate
        success.
 Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421-22 (1978). The Supreme Court

 affirmed the denial of attorney’s fees where, as here, the defendant prevailed on “an

 issue of first impression requiring judicial resolution.” Id. (internal quotations

 omitted). “If the area of law is considered complex and uncertain, however, Rule 11

 sanctions are rarely granted …” Balfour Guthrie, Inc. v. Hunter Marine Transport, Inc., 118

 F.R.D. 66, 74 (M.D. Tenn. 1987) (citing Vatican Shrimp Co. v. Solis, 820 F.2d 674, 681

 (5th Cir. 1987)).


        A. Plaintiffs Had Reasonable Basis for Legal Claims

        1.   Standing
        Plaintiffs’ central claim was that the Michigan Presidential Elector Plaintiffs had

 standing to file claims for violation of the Electors Clause, as well as standing to bring

                                             19
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4130 Filed 01/19/21 Page 21 of 48




 Equal Protection and Due Process claims and under the Fourteenth Amendment as

 candidates for office and as voters. While the court found that Plaintiffs’ claims lacked

 standing, the fact is Plaintiffs made a good faith legal argument under Article III, § 2,

 of the U.S. Constitution which provides that,


          “The judicial Power shall extend to all Cases, in Law and Equity, arising
          under this Constitution, the Laws of the United States, and Treaties made,
          or which shall be made, under their Authority[.]”
          “It is clear that the cause of action is one which ‘arises under’ the Federal

 Constitution.” Baker v. Carr, 369 U.S. 186, 199 (1962) (A citizen's right to a vote free

 of arbitrary impairment by state action has been judicially recognized as a right secured

 by the Constitution, when such impairment resulted from dilution by a false tally; or by

 a refusal to count votes from arbitrarily selected precincts, or by a stuffing of the ballot

 box.).

          These claims were not frivolous as they had support in other circuits, and there

 was not at the time of filing, any controlling authority in the Sixth Circuit. Instead,

 there was a circuit split on the elector standing. Plaintiffs relied on a very recent case

 where the Eighth Circuit interpreted the presidential elector provisions of Minnesota

 law that were nearly identical to Michigan’s electoral law as giving electors standing, as

 candidates for office, under the Electors Clause to challenge state law violations. Carson

 v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming that Presidential Electors have

 Article III and prudential standing to challenge actions of Secretary of State in


                                              20
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4131 Filed 01/19/21 Page 22 of 48




 implementing or modifying State election laws). In that case, the Eighth Circuit

 Presidential Electors “have a cognizable interest in ensuring that the final vote tally

 reflects the legally valid votes cast,” as “[a]n inaccurate vote tally is a concrete and

 particularized injury to candidates such as the Electors.” The Third Circuit, in a case

 dealing with a failed congressional candidate, not a Presidential elector, reached a

 different conclusion in Bognet v. Secy Commonwealth of Pa., 980 F.3d 336 (3d Cir. 2020).

        The existence of a circuit split on candidate standing demonstrates that Plaintiffs

 and counsel had a reasonable basis for their claims and that their position was not

 frivolous. In fact, the existence of a circuit split can defeat a motion for sanctions even

 if the position taken runs counter to current controlling authority. See, e.g., Hunter v.

 Earthgrains Co. Bakery, 281 F.3d 144, 154-56 (4th Cir. 2002) (vacating district court order

 imposing Rule 11 sanctions where other circuits had taken legal position contrary to

 controlling Fourth Circuit precedent). Here, by contrast, there was no controlling Sixth

 Circuit or Supreme Court authority on elector standing.

            2. The Eleventh Amendment.

        The Supreme Court has held that “[i]t is clear … that in the absence of consent

 a suit in which the State or one of its agencies or departments is named as the defendant

 is proscribed by the Eleventh Amendment.” Pennhurst State Sch. & Hosp. v. Halderman,

 465 U.S. 89, 100, 104 S. Ct. 900, 908, 79 L. Ed. 2d 67 (1984). However, “[w]hen the suit

 is brought only against state officials, a question arises as to whether that suit is a suit

 against the State itself.” Id. at 101.
                                             21
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4132 Filed 01/19/21 Page 23 of 48




        This Court determined that Plaintiffs’ claims against Governor Whitmer and

 Secretary of State Benson were “suit[s] against state officials when ‘the state is the real,

 substantial party in interest.’” Dkt. 62, pp. 8-9. Plaintiffs respectfully disagree with that

 conclusion. Their Complaint alleges ultra vires executive conduct in violation of state

 law. Plaintiffs’ cause of action is premised on the fact that Defendants Whitmer and

 Benson have acted inconsistently with state and federal law. Accordingly, in Plaintiffs’

 view, the state is not the real party in interest. If it were, then no citizen could ever

 maintain a cause action against a state defendant. Ultimately, the point is that the

 resolution of this issue is fact-intensive, not “clear.”

           3. Laches.

        Laches is an equitable doctrine that is necessarily fact-dependent. After a diligent

 search, Plaintiffs have been unable to locate any analogous case in which a court

 imposed sanctions on a plaintiff for bringing a claim that the court subsequently

 deemed barred by laches.

        In the instant case, most of Defendants’ conduct did not become apparent until

 Election Day. Thereafter, Plaintiffs diligently collected dozens of affidavits and drafted

 a seventy-five page initial complaint detailing each of its claims. Plaintiffs filed their

 Complaint a mere two days after the Michigan Board of State Canvassers certified the

 election results. Plaintiffs had a reasonable argument for the roughly twenty-one day

 delay between Election Day and the filing of this Complaint. As such, sanctions would

 be grossly inappropriate on this basis.
                                              22
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4133 Filed 01/19/21 Page 24 of 48




           4. Mootness.

        Plaintiffs and this Court disagreed on the question of whether or not the relief

 Plaintiffs sought was moot. The Court essentially concluded that it did not have the

 power to “decertify” election results once those results had been certified by the

 Governor. In delivering its reasons, the Court did not cite any controlling case law in

 support because this is a novel area. (See ECF No. 62, Court Op. and Order) However,

 in their complaint to the US Supreme Court on December 7, 2020, the state of Texas,

 joined by 18 other state attorney generals, believed a federal court did have the authority

 to decertify or otherwise invalidate certified state elections results. (See Plaintiffs’ Brief

 in Opposition to 1927 Sanctions] Accordingly, Plaintiffs’ reasonable arguments in

 support of their entitlement to relief cannot be sanctionable on this basis.

   B.    Dismissal on Equitable Grounds Should Not Be Basis for Sanctions

        Equitable remedies allow that “substantial justice may be attained in particular

 cases where the prescribed or customary forms of ordinary law seem to be inadequate.”

 27A Am. Jur. 2d Equity § 1 (citing Securities and Exchange Com'n v. U.S. Realty & Imp. Co.,

 310 U.S. 434, 60 S. Ct. 1044, 84 L. Ed. 1293 (1940)). By its very nature, equitable claims

 are heavily fact and circumstance dependent and a particularly bad fit for sanctions

 when relief is denied. Litigants must know that they can come to court seeking out of

 the box equitable remedies in unusual disputes, without fear of sanctions. While

 equitable defenses, such as latches or mootness, may foreclose relief given a particular



                                              23
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4134 Filed 01/19/21 Page 25 of 48




 fact pattern it is particularly unlikely that the relief requested is factually or legally

 baseless because of the purposefully flexible nature of equity.


   C. Dismissal for Failure to Adequately Plead Claims Is Not Basis for
 Sanctions.
        While the Court’s rationale for dismissing Plaintiffs’ Equal Protection and Due

 Process claims appears to be that the Court accepted the claims of the City and other

 parties that Plaintiffs’ either failed to adequately plead these claims or to allege facts

 that, if true, would have stated a claim for relief. See ECF No. 62 at 33-34. “Although

 a legal claim might be so inartfully pled that it cannot survive a motion to dismiss, such

 a flaw will not in itself support Rule 11 sanction--only the lack any legal or factual basis

 is sanctionable.” Hunter, 281 F.3d at 153 (emphasis added). See also id. (“Creative claims,

 coupled even with ambiguous or inconsequential facts, may merit dismissal, but not

 punishment”) (internal quotations omitted). A district court, however, should not

 impose sanctions so as to chill creativity or stifle enthusiasm or advocacy. See Securities

 Indus. Ass'n v. Clarke, 898 F.2d 318, 322 (2d Cir. 1990).

        Moreover, plaintiffs and counsel “need not have in hand before filing enough

 proof to establish the case.” Samuels v. Wilder, 906 F.2d 272, 274 (2d Cir. 1990). It

 “requires only an outline of case,” and “must not bar the courthouse door to people

 who have some support for a complaint but need discovery to prove their case …” Id.

 (internal citations and quotations omitted). Here, there is a disagreement about the

 significance of the facts and testimony supporting Plaintiffs’ complaint, particularly with

                                             24
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4135 Filed 01/19/21 Page 26 of 48




 respect to the allegations of differential weighting of Republican and Democratic votes

 by Dominion voting machines, discriminatory enforcement (or nonenforcement) of

 state election laws, and other illegal and discriminatory conduct at the TCF Center

 described in sworn eyewitness testimony. Plaintiffs alleged that this illegal and

 unconstitutional conduct did not affect all voters equally, and that it resulted in counting

 of illegal votes predominantly for Democrats and not counting legal votes for

 Republican voters. This Court found that Plaintiffs’ allegations could not support these

 claims, and dismissed eyewitness statements in sworn testimony who believed that they

 observed vote switching or destruction as unsupported, and similar allegations as

 “theories, conjecture, and speculation that such alterations were possible.” ECF No. 62 at

 34. But these are precisely the types of credibility determinations that could have been

 made at an evidentiary hearing, and allegations that could have found additional

 evidentiary support if discovery had been permitted.

        The central goal of Rule 11 sanctions is the deterrence of baseless filings and the

 curbing of abuses. Photocircuits Corp. v. Marathon Agents, 162 F.R.D. 449, 451, (1995)

 (citing Cooter & Gell v. Hartmarx Corporation, 496 U.S. 384, 393, 110 S. Ct. 2447, 2454,

 110 L. Ed. 2d 359 (1990); Caisse Nationale De Credit Agricole-CNCA v. Valcorp, 28 F.3d

 259 (2d Cir. 1994); McMahon v. Shearson/American Express, Inc., 896 F.2d 17, 21 (2d Cir.

 1990) (Rule 11 was enacted to "discourage dilatory and abusive litigation tactics and

 eliminate frivolous claims and defenses, thereby speeding up and reducing the costs of

 the litigation process."). Rule 11 is designed to deter parties from abusing judicial
                                             25
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4136 Filed 01/19/21 Page 27 of 48




 resources, not from filing complaints. Cooter & Gell v. Hartmarx Corp., 496 U.S. 384,

 411, 110 S. Ct. 2447, 2464, 110 L. Ed. 2d 359, 385, (J. Stevens, 1990).

 VI.  Rule 11(b)(3): Plaintiffs Factual Allegations Had Evidentiary Support
 and/or Would Have Support After Further Discovery or Investigation

       A.   Plaintiffs’ Factual Allegations Have Not Been “Debunked.”
       As an initial matter, the only contested factual allegations that may be before this

 Court (assuming the Motion is not dismissed as procedurally improper or on other

 grounds) are those in the Motion served on December 15, 2020, and filed with this

 Court on January 5, 2021. The only “specific conduct” identified in the Motion are

 “[t]he allegations about supposed fraud in the processing and tabulation of absentee

 ballots by the City at the TCF Center,” which according to the City, “have been rejected

 by every court that has considered them,” ECF No. 78 at 7, but does not cite to any

 case where this was “debunked.” Id. Nor could they because it appears that no court

 has addressed these factual allegations on the merits or held an evidentiary hearing.

       While factual allegations made for the first time in the January 5, 2021 Brief are

 not properly before this Court for failure to comply with Rule 11(c)(2)’s safe harbor

 and 21-day notice requirement, Plaintiffs will nevertheless demonstrate that the City of

 Detroit’s claims are without merit. The City of Detroit heavily relies on the Wayne

 County Circuit Court’s opinion and order in Constantino v. Detroit, Case No. 20-014780-

 AW (Nov. 13, 2020), ECF No. 78 at 13-18 (“Constantino I”), aff’d, 950 N.W.2d 707

 (Mich. Nov. 23, 2020) (“Constantino II”). There, the circuit court denied a motion for


                                            26
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4137 Filed 01/19/21 Page 28 of 48




 preliminary injunctive relief that included many of the same factual allegations regarding

 misconduct at the TCF Center, supported by sworn affidavits from many of the same

 fact witnesses, as were included in the Complaint, Amended Complaint, and TRO

 Motion. ECF Nos. 1, 6, 7.

       In doing so, the City neglects to mention that the Circuit Court, like this Court,

 did not conduct an evidentiary hearing. And Defendants fail to point out how it that

 case substantively differs from the case at bar which addressed a widespread pattern of

 actual fraud. The City also neglects to mention that three Michigan Supreme Court

 judges in Constantino issued concurring and dissenting opinions finding serious

 allegations of fraud that needed to be investigated. The Rule 11 Advisory Committee

 Notes direct district courts to consider minority opinions in determining whether an

 attorney has conducted a reasonable inquiry as required. Fed. R. Civ. P. Rule 11, Notes

 of Advisory Committee – 1993 Amendment (directing district courts to take into

 account “the extent to which a litigant has researched the issues and found some

 support for its theories even in minority opinions”).

       Specifically, in his dissenting opinion, Justice Viviano highlighted the fact that

 the Circuit Court’s “credibility determinations were made without the benefit of an

 evidentiary hearing,” which “[o]rdinarily … is required where the conflicting affidavits

 create factual questions that are material to the trial court’s decisions on a motion for

 preliminary injunction” under Michigan state law. Constantino II, 950 N.W.2d at 710 n.2



                                             27
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4138 Filed 01/19/21 Page 29 of 48




 (Viviano, J. dissenting). In his view, “[t]he trial court’s factual finding have no

 significance …” Id., at 710-711 (emphasis added).

        Justice Zahra, in a concurring opinion joined by Justice Markman, also disagreed

 with the Circuit Court’s decision not to hold an evidentiary hearing. They also appear

 to have found the factual allegations of these witnesses to have some merit:

        Nothing said is to diminish the troubling and serious allegations of fraud
        and irregularities asserted by affiants …, among whom is Ruth Johnson,
        Michigan’s immediate past Secretary of State.”
 Id. at 708 (Zahra, J., concurring). Justice Zahra therefore urged the Circuit Court to

 “meaningfully assess plaintiffs’ allegations by an evidentiary hearing, particularly with

 respect to the credibility of the competing affiants ...” Id.

        A court may, and given the exigencies of time sometimes must, act on motions

 for preliminary injunctive relief based on “the parties’ bare affidavits,” Id. at 710

 (Viviano, J. dissenting), without an evidentiary hearing. However, such purported

 factual findings cannot be given preclusive effect much less form the basis for finding

 that factual allegations made in sworn affidavits lacked evidentiary support. Plaintiffs’

 Amended Complaint presented over 200 sworn fact witness (as well as sworn affidavits

 from more than a dozen expert witnesses (that were not addressed in Constantino I or

 Constantino II), that constitutes more than sufficient evidentiary support to meet the

 requirements of Rule 11, even before conducting any discovery which likely would have

 resulted in additional evidence supporting Plaintiffs’ allegations.


                                              28
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4139 Filed 01/19/21 Page 30 of 48




        While district courts are required to articulate a basis for awarding sanctions,

 nothing requires them to explain their reasons for not ordering sanctions." Gibson v.

 Solideal USA, Inc., 489 Fed. Appx. 24, 32, 2012 FED App. 0740N (6th Cir. 2012) (cited

 Runfola & Assocs., Inc. v. Spectrum Reporting II, Inc., 88 F.3d 368, 375 (6th Cir. 1996)

 (addressing a district court's silence on its reason to deny sanctions under its inherent

 powers); see also Eaton Aerospace, L.L.C. v. SL Montevideo Tech., 129 F. App'x 146, 153 (6th

 Cir. 2005).

        In the event this Court declines to deny the City’s Motion and consider imposing

 Rule 11 sanctions under Rule 11(b)(3) it must first conduct an evidentiary hearing to

 make credibility determinations for Plaintiffs’ witnesses. See, e.g., Donaldson v. Clark, 819

 F.3d 1551, 1561 (11th Cir. 1987) (“when a court is asked to resolve an issue of credibility

 ...the risk of an erroneous imposition of sanctions under limited procedures and the

 probably value of additional hearing are likely to be greater.”) A hearing is further

 required in light of the draconian, punitive, and unprecedented nature of the City of

 Detroit’s proposed sanctions: “[T]he more serious the possible sanction both in

 absolute size and in relation to actual expenditures, the more process that will be

 due.” Id. (emphasis added). Moreover, “[w]hen, as here, the case was dismissed

 without a trial, due process may require some kind of hearing.” Davis v. Crush, 862 F.2d

 84, 89 (6th Cir. 1988) (internal quotations omitted).




                                              29
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4140 Filed 01/19/21 Page 31 of 48




       B. Plaintiffs Provided Adequate Evidentiary Support for Factual
 Allegations and/or Would Have After Reasonable Opportunity for Further
 Investigation or Discovery
        The standard is more importantly, to survive a motion to dismiss, respondents

 need only allege “enough facts to state a claim to relief that is plausible on its face.”

 Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 45, 131 S. Ct. 1309, 1322, 179 L. Ed. 2d

 398, 413, (2011) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955,

 167 L. Ed. 2d 929 (2007). Nevertheless, the City begins its motion with language that

 claims Plaintiffs have “lied,” to this court.        Such outrageous and unprofessional

 allegations are entirely unacceptable. The City cannot back up its absurd allegation.

 Proffering expert reports that are disputed by plaintiffs’ experts does not make counsel

 liars. And, if this were simply the ranting of a third rate five-man Detroit law firm, we

 would dismiss this behavior as pathetic unprofessionalism. But these are the dirty,

 media-attention hungry, slanderous and completely out-of-bounds statements by

 representatives of the City of Detroit. It should not be countenanced by this Court.

        Rule 11 specifically says, “(d) Inapplicability to Discovery. This rule does not apply to

 disclosures and discovery requests, responses, objections, and motions under Rules 26 through

 37. USCS Fed Rules Civ Proc R 11(d). None of the allegations and evidence proffered

 by the plaintiffs were allowed to be developed through discovery. None of the defense

 witnesses or evidence were permitted to be tested through discovery. Awarding Rule

 11 sanctions on such a bare record is unprecedented and wrong.



                                               30
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4141 Filed 01/19/21 Page 32 of 48




       The Amended Complaint presented expert witness testimony demonstrating that

 several hundred thousand illegal, ineligible, duplicate or purely fictitious votes must be

 thrown out, in particular:

           A. A report from Russell Ramsland, Jr. showing the “physical impossibility”
           of nearly 385,000 votes injected by four precincts/township on November 4,
           2020, that resulted in the counting of nearly 290,000 more ballots processed
           than available capacity (which is based on statistical analysis that is
           independent of his analysis of Dominion’s flaws), a result which he
           determined to be “physically impossible” (see Ex. 104 ¶14);
           B. A report from Dr. Louis Bouchard finding to be “statistically impossible”
           the widely reported “jump” in Biden’s vote tally of 141,257 votes during a
           single time interval (11:31:48 on November 4), see Ex. 110 at 28);
           C.      A report from Dr. William Briggs, showing that there were
           approximately 60,000 absentee ballots listed as “unreturned” by voters that
           either never requested them, or that requested and returned their ballots. (See
           Ex. 101);

           D. A report from Dr. Eric Quinell analyzing the anomalous turnout figures
           in Wayne and Oakland Counties showing that Biden gained nearly 100% and
           frequently more than 100% of all “new” voters in certain
           townships/precincts over 2016, and thus indicated that nearly 87,000
           anomalous and likely fraudulent votes came from these precincts. (See Ex.
           102);
           E. A report from Dr. Stanley Young that looked at the entire State of
           Michigan and identified nine “outlier” counties that had both significantly
           increased turnout in 2020 vs. 2016 almost all of which went to Biden totaling
           over 190,000 suspect “excess” Biden votes (whereas turnout in Michigan’s 74
           other counties was flat). (See Ex. 110);
           F.     A report from Robert Wilgus analyzing the absentee ballot data that
           identified a number of significant anomalies, in particular, 224,525 absentee
           ballot applications that were both sent and returned on the same day, 288,783
           absentee ballots that were sent and returned on the same day, and 78,312 that
           had the same date for all (i.e., the absentee application was sent/returned on
           same day as the absentee ballot itself was sent/returned), as well as an


                                             31
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4142 Filed 01/19/21 Page 33 of 48




           additional 217,271 ballots for which there was no return date (i.e., consistent
           with eyewitness testimony described in Section II below). (See Ex. 110);
           G. A report from Thomas Davis showing that in 2020 for larger Michigan
           counties like Monroe and Oakland Counties, that not only was there a higher
           percentage of Democrat than Republican absentee voters in every single one
           of hundreds of precinct, but that the Democrat advantage (i.e., the difference
           in the percentage of Democrat vs. Republican absentee voter) was consistent
           (+25%-30%) and the differences were highly correlated, whereas in 2016 the
           differences were uncorrelated. (See Ex. 110); and
           H. A report by an affiant whose name must be redacted to protect his safety
           who concludes that “the results of the analysis and the pattern seen in the
           included graph strongly suggest a systemic, system-wide algorithm was
           enacted by an outside agent, causing the results of Michigan’s vote tallies to
           be inflated by somewhere between three and five point six percentage
           points. Statistical estimating yields that in Michigan, the best estimate of the
           number of impacted votes is 162,400. However, a 95% confidence interval
           calculation yields that as many as 276,080 votes may have been impacted.”
           (See Ex. 111 ¶13).
 (See ECF 6, Pls. Am. Compl. at par. 16). And Plaintiff’s December 4, 2020 response

 included signed and sworn Rebuttal sworn statements in response to Defendant-

 Intervenor’s response, from Plaintiffs’ expert witnesses, Russell Ramsland, William

 Briggs, Eric Quinell, and expert testimony submitted under seal. (See ECF No. 49,

 Exhs. 1-4).


 Young and Quinell


       The language invoked by Defendants is largely inappropriate in their attack on

 Dr. Young and Dr. Quinell. Defendants argue generally and broadly that these highly

 qualified individuals submitted reports that are “sloppy” and show “incomprehensible

 ignorance.” (See ECF No. 78, p. 19). While Defendants are not examining these

                                            32
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4143 Filed 01/19/21 Page 34 of 48




 witnesses before a trier of fact they appear instead to seek to prejudice the court with

 hyperbole, without a counter expert or even a citation to published expert

 literature. Dr. Quinell holds a Ph.D. in computer arithmetic and is an electrical engineer

 who works in silicon computation devices and herein opines on a mathematical

 anomaly. In a reply that was submitted to this court Dr Quinell explained:

       These mathematical anomalous vote gains, until explained and/or
       investigated are of a large enough quantitative magnitude and
       consequence that the barrier of speculation should be held to engineering
       and mathematical standards, not to those of political science and editorial
       publications.

       In statistics, any “new population” may be added and absorbed to the
       whole- this population seems to have 8,000 voters who didn’t appear in
       2016 that parachuted in and voted 80 Dem/ 20 Rep – which is in complete
       opposition to Troy’s moderate voting history. In a technique called
       “resampling”, any new population that is added to an existing one is
       expected to behave and slightly change the behavior of the existing mass,
       testable by re-simulating the same dataset with the existing distribution
       mathematical qualities. Resampling in this case puts this new population
       deep into the tail of its own distribution, indicating again a completely new
       phenomena that needs explaining. Why would a populous increase its
       own turnout by 15% over 2016, and 98% of that go to one
       candidate? Mathematically this behavior is anomalous to its own dataset.

       What “literature” exists to explain that absentee ballot requests are a single
       variable – with a perfect scalar multiple of Democrats above Republicans
       – with a Pearson coefficient of 0.797? Every precinct where a Republican
       voted by absentee guaranteed roughly 1.7 Democrats to vote absentee,
       regardless of precinct. This “national phenomenon” of mathematically
       non-independent variables is not ubiquitous in all the Michigan counties
       nor in national data…

 (See ECF 49-2, pp. 4-6).




                                             33
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4144 Filed 01/19/21 Page 35 of 48




       The City’s bald and toothless disagreement with the experts cited, would at best

 become a question for a trial or evidentiary hearing through the cross-examination of a

 witness. It is not a basis for a Rule 11 motion.

 Spyder/Spider

       Defendants attack the Declarant known as Spider because they attack his

 background - despite the fact that they have not deposed him or otherwise examined

 him. Spider’s identity and credentials were required to be withheld. In Plaintiffs’

 motion to file under seal [ECF No. 8] the reasons were explained. Nevertheless,

 defendants do not address the substance of Spider’s 17-page report filled with analysis

 and evidence. Instead they simply attack his credentials. This is not a basis upon which

 to grant a Rule 11 motion.


 Russell James Ramsland


       Defendants address Russell James Ramsland and allege that “the Secretary of

 State report is not even discussed.” And based on this assumption, and lack of genuine

 research, Defendants proceed to allege that he makes false claims. (See ECF No. 78, p.

 21). Yet, Mr. Ramsland already responded to the same points raised by defendants’

 expert, Dr. Rodden, and stands by his conclusions. (See Ramsland Reply Report, Docket

 No 49, Ex. 3 at par 6, filed 12/3/2020). He specifically addresses and thoroughly

 documents the lack of evidence for the Secretary of State’s conclusion and summarizes:



                                            34
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4145 Filed 01/19/21 Page 36 of 48




         We do not believe that the Secretary of State report addresses this and
         states the issue at the time was not on the printed totals tape. The Secretary
         even states “Because the Clerk correctly updated the media drives for the
         tabulators with changes to races, and because the other tabulators did not
         have changes to races, all tabulators counted ballots correctly.” This is not
         the case.
  (See Id. at p. 12).

  The report later summarizes:


         If this had been a user setup issue, then the test ballots they run to verify
         the results they get by comparing them with the test matrix should have
         caught that. When they made the software change that that used to
         tabulate the 11/6/20 rerun, there should be a log of the test ballots run
         through the system and verified against the test matrix. This alone might
         not show fraud, but it is a crucial part of the software configuration
         validation process and apparently was not done. We believe to a
         reasonable degree of professional certainty that this shows fraud and that
         vote changing at the local tabulator level has occurred due to a software
         change in all precincts were Dominion software was used in Michigan.
         This small sample amplified in a large population area would have major
         results. Without the explanation of why there was a re-tabulation, why the
         issue of numbers being off to a significant degree when a vote change was
         noted, and no further investigation occurred – and when 3 ballots were
         removed from the totals that changed the final outcome of one proposal,
         constitutes a definitive indication of fraud.
  (See Id. p. 13).

         Mr. Ramsland also addresses the “event” reflected in the data are “4 spikes

 totaling 384,733 ballots allegedly processed in a combined interval of 2 hour[s] and 38

 minutes” for four precincts/townships in four Michigan counties (Wayne, Oakland,

 Macomb, and Kent). Id. Based on Mr. Ramsland’s analysis of the voting machines

 available at the referenced locations, he determined that the maximum processing

 capability during this period was only 94,867 ballots, so that “there were 289,866 more
                                              35
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4146 Filed 01/19/21 Page 37 of 48




 ballots processed in the time available for processing in the four precincts/townships,

 than there was processing capacity.” Id. This amount alone is nearly twice the

 number of ballots by which Biden purportedly leads President Trump (i.e.,

 154,188). (See Am. Compl. at pars. 144-145).

        Mr. Ramsland further explains in depth in his declaration, which Defendants do

 not raise or discuss that:

        Mr. Ramsland’s analysis of the raw data, which provides votes counts,
        rather than just vote shares, in decimal form provides highly probative
        evidence that, in his professional opinion, demonstrates that Dominion
        manipulated votes through the use of an “additive” or “Ranked Choice
        Voting” algorithm (or what Dominion’s user guide refers to as the “RCV
        Method”). See id. at ¶12.[1] Mr. Ramsland presents the following example
        of this data – taken from “Dominion’s direct feed to news outlets” – in
        the table below. Id.

        Mr. Ramsland describes how the RCV algorithm can be implemented, and the

 use of fractional vote counts as evidence, with decimal places, rather than whole

 numbers, in demonstrating that Dominion did just that to manipulate Michigan votes.

        For instance, blank ballots can be entered into the system and treated as
        “write-ins.” Then the operator can enter an allocation of the write-ins
        among candidates as he wishes. The final result then awards the winner
        based on “points” the algorithm in the compute, not actual votes. The
        fact that we observed raw vote data that includes decimal places suggests
        strongly that this was, in fact, done. Otherwise, votes would be solely
        represented as whole numbers. Below is an excerpt from Dominion’s




                                           36
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4147 Filed 01/19/21 Page 38 of 48




        direct feed to news outlets showing actual calculated votes with
        decimals. Id.3

 (See ECF 6, Am. Compl. at ¶ ¶ 140-141).


 William Briggs / Matt Braynard

        Defendants spend the better part of three full pages in this motion for sanctions,

 disbarment and referral to disciplinary bodies, attacking the credibility of Dr. Briggs, a

 Ph.D. statistician, with over 100 peer reviewed publications and yet, quite tellingly

 Defendants did not mention the most pertinent and important part of Dr.

 Briggs’ analysis. (See ECF No. 78 at pp. 39-43). This was the estimate for how many

 ballots went missing, calculated from answers to the question (in short) "Did you return

 your ballot?" There can be no arguable ambiguity in that question. Dr. Briggs estimated

 that between about 28 to 35 thousand votes were returned but never recorded in

 Michigan. This represents significant voter disenfranchisement --which cannot be

 ignored.

     a. Plaintiffs’ Counsel Have Not Acted “Unreasonably or Vexatiously,” or
        Engaged in Any Reckless or Intentional Misconduct to Delay or Increase
        Defendants’ Costs.




 3
  See id. (quoting Democracy Suite EMS Results Tally and Reporting User Guide, Chapter 11, Settings
 11.2.2., which reads, in part, “RCV METHOD: This will select the specific method of tabulating
 RCV votes to elect a winner.”).



                                                 37
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4148 Filed 01/19/21 Page 39 of 48




         Even assuming arguendo that this claim were not barred as a matter of law, the

 State Defendants failed to allege that any specific conduct by Plaintiffs’ counsel, or

 factual allegation or legal claim in the pleadings, that could qualify as “unreasonabl[e]

 or vexatious[],” as required under Section 1927, or any specific reckless, bad faith or

 intentional misconduct required under controlling Sixth Circuit precedent.

         Instead, the State Defendants simply make blanket assertions that Plaintiffs’

 counsel has filed a “frivolous lawsuit” and “raised false allegations and pursued

 unsupportable legal theories.” ECF No. 78 at 44.

         Finally, the State Defendants engage in their own unsupported speculation that

 Plaintiffs’ co-counsel filed this lawsuit “hoping not to prevail but to damage

 democracy,” ECF No. 23, a reckless and defamatory claim. This highlights the lack of

 specificity in these allegations, with a blanket demand against all counsel whereas

 liability under Rule 11 is direct, and not vicarious.

    b. Many other attorneys, witnesses and legislative representatives have
       raised election integrity issues in the Presidential Election of 2020.
       Public reports have also highlighted wide-spread election fraud in the Contested

 States that prompted competing Electors’ slates.[1] In the Navarro report, it is shown

 that:


 At midnight on the evening of November 3, and as illustrated in Table 1, President
 Trump was ahead by more than 110,000 votes in Wisconsin and more than 290,000
 votes in Michigan. In Georgia, his lead was a whopping 356,945; and he led in
 Pennsylvania by more than half a million votes. By December 7, however, these wide
 Trump leads would turn into razor thin Biden leads –11,779 votes in Georgia, 20,682
 votes in Wisconsin, 81,660 votes in Pennsylvania, and 154,188 votes in Michigan.

                                              38
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4149 Filed 01/19/21 Page 40 of 48




 Id., Table 1: A Trump Red Tide Turns Biden Blue4


        There was an equally interesting story unfolding in Arizona and Nevada.
        While Joe Biden was ahead in these two additional battleground states on
        election night –by just over 30,000 votes in Nevada and less than 150,000
        votes in Arizona.
 Id.

        Most recently, an attorney in Catania, Italy, Prof. Alfio D’Urso, testified that the

 US presidential election results were hacked and changed by foreign actors on

 November 4, 2020 and that a cyber operator was criminally charged for his role in

 admitted testimony of switching votes from Donald Trump to Joe Biden:


        Arturo D’Elia, former head of the IT Department of Leonardo SpA has
        been charged by the public prosecutor of Naples, Italy for technology / data
        manipulation and implementation, of viruses in main computers of Leonardo
        SpA. December 20, 2020. D’Elia has been deposed by the presiding judge in
        Naples, and in sworn testimony states that on 4 11 20, under instruction and
        direction of U.S. persons working from the U.S. Embassy in Rome, [he]
        undertook the operation to switch data from the U.S. election of 3 Nov. 20
        from significant margin of victory for Donald Trump to Joe Biden in a
        number of states where Joe Biden was losing the vote totals. Defendant
        states that he was working in Pascara facility of Leonardo SpA and utilized
        military grade cyber warfare encryption capabilities to transmit switched votes
        via military satellite of Fucino Tower to Frankfurt Germany...
 This Testimony is available and in an attached written affidavit. (See Exh. B).




 4
  See EXH. A, copy of Immaculate Deception, Six Key Dimensions of Election Irregularities, The
 Navarro Report, available at: https://bannonswarroom.com/wp-content/uploads/2020/12/The-
 Immaculate-Deception-12.15.20-1.pdf


                                               39
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4150 Filed 01/19/21 Page 41 of 48




       Defendants seek to allege, in a nutshell, that Plaintiffs filed a frivolous claim or

 it must be false, (similar to a res ipsa argument) because CISA issued a statement on

 November 12, 2020 that “the November 3rd Election was the most secure in American

 history.” (See ECF No. 78 at p. 8, f.n. 12). But12 days earlier CISA had issued a joint

 statement with the FBI, entitled a JOINT CYBERSECURITY ADVISORY ON

 October 30, 2020 titled:


 Iranian Advanced Persistent Threat Actor Identified Obtained Voter
 Registration Data
       This joint cybersecurity advisory was coauthored by the Cybersecurity and
       Infrastructure Security Agency (CISA) and the Federal Bureau of
       Investigation (FBI). CISA and the FBI are aware of an Iranian
       advanced persistent threat (APT) actor targeting U.S. state websites
       to include election websites. CISA and the FBI assess this actor is
       responsible for the mass dissemination of voter intimidation emails
       to U.S. citizens and the dissemination of U.S. election-related
       working on the computers. disinformation in mid-October 2020.1
       (Reference FBI FLASH message ME-000138-TT, disseminated October
       29, 2020). Further evaluation by CISA and the FBI has identified the
       targeting of U.S. state election websites was an intentional effort to
       influence and interfere with the 2020 U.S. presidential election.
 (See ECF 6, Pls. Am. Compl. (citing Ex. 18 at 1, CISA and FBI Joint Cyber
 Security Advisory of October 30, 2020)).


 Notably, on January 7, 2021 the Director of National Intelligence issued a report titled,

 “Views on Intelligence Community Election Security Analysis” which concludes:


       In that same spirit, I am adding my voice in support of the stated minority
       view – based on all available sources of intelligence, with definitions
       consistently applied, and reached independent of political considerations
       or undue pressure – that the People’s Republic of China sought to

                                            40
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4151 Filed 01/19/21 Page 42 of 48




       influence the 2020 U.S. federal elections, and raising the need for the
       Intelligence Community to address the underlying issues with China
       reporting outlines above.
 (See Exh. C, Copy of DNI report 01/07/21)
         Yet, this appeared as a non-partisan issue back in late December of 2019, when

 three Democrat Senators, Warren, Klobuchar, Wyden, and House Member Mark Pocan

 wrote about their ‘particularized concerns that secretive & “trouble -plagued

 companies”’ “have long skimped on security in favor of convenience,” in the context

 of how they described the voting machine systems that three large vendors – Election

 Systems & Software, Dominion Voting Systems, & Hart InterCivic – collectively

 provide voting machines & software that facilitate voting for over 90% of all eligible

 voters in the U.S.” (See Am. Compl. At p. 59, pars. G and H). Senator Ron Wyden

 (D-Oregon) said the findings [insecurity of voting systems] are “yet another damning

 indictment of the profiteering election vendors, who care more about the bottom line than protecting our

 democracy.” It’s also an indictment, he said, “of the notion that important cybersecurity decisions

 should be left entirely to county election offices, many of whom do not employ a single cybersecurity

 specialist.” (See Id.5).

         Indeed, the House was highly critical of election integrity risks and passed H.R.

 2722 on June 27, 2019: This bill addresses election security through grant programs and

 requirements for voting systems and paper ballots.


 5
   Exclusive: Critical U.S. Election Systems Have Been Left Exposed Online Despite Official Denials,
 Motherboard Tech by Vice, by Kim Zetter, August 8, 2019, https://www.vice.com/en/article/3kxzk9/exclusive-
 critical-us-election-systems-have-been-left-exposed-online-despite-official-denials
                                                      41
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4152 Filed 01/19/21 Page 43 of 48




 The bill establishes requirements for voting systems, including that systems (1) use individual, durable,
 voter-verified paper ballots; (2) make a voter's marked ballot available for inspection and
 verification by the voter before the vote is cast; (3) ensure that individuals with disabilities are given an
 equivalent opportunity to vote, including with privacy and independence, in a manner that produces a
 voter-verified paper ballot; (4) be manufactured in the United States; and (5) meet specified cybersecurity
 requirements, including the prohibition of the connection of a voting system to the internet.
 (See Congress.gov/H.R. 2722).

         The Michigan state Senate Oversight Committee held the hearing in or about

 early December, which included testimony from a former senator with expertise on

 data and technology who explained that the Voting machines were connected to the

 internet in Detroit. The witness spoke to the committee under oath about voting by

 dead people, a truck full of ballots coming into the counting center long after the

 deadline, and vulnerable voting machines[2]. Further, testimony among others

 including evidence of voters who voted absentee but had fake addresses or were

 deceased. Id.

         “What I can say for sure, and swear to you here today, is that overall, 8.9%
         of the 30,000 absentee ballots that we’ve gone through and
         investigated, just in the city of Detroit, were unqualified, fraudulent
         ballots that should have been spoiled,” Schornak said. He extrapolated
         about how the 30,000 sample could reflect on all of the absentee votes
         cast. “At the lowest levels, if these percentages carry through, this means
         of the 172,000 [absentee votes] in the city of Detroit, 1,300 of them could
         be deceased,” he told the senators. “We are investigating it. And another
         15,000 could have fraudulent addresses, described as living on vacant lots
         or [in] burnt-down houses.”
         The claims of fraud in Michigan have gained widespread attention and attacks

 on witnesses credibility such as when the Michigan Oversight Committee heard from a

 witness who was an IT specialist for Dominion Voting Systems and she appeared and

                                                      42
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4153 Filed 01/19/21 Page 44 of 48




 described what she called “complete fraud” at Detroit’s TCF Center[3]. She described

 the same ballots being repeatedly rescanned over and over. Id. While she is not an

 affiant in this case, this reflects Michigan’s Oversight Committee took statements from

 many people because the complaints on the lack of integrity reached far and wide within

 Michigan and within the Contested States.

        More recently, John Lott, Ph.D. recently did a study, first published in late

 December 2020 and updated January 6, 2021 called “A Simple Test for the Extent of Vote

 Fraud with Absentee Ballots in the 2020 Presidential Election: Georgia and Pennsylvania Data.”

 (See Exh D, copy of Dr. Lott’s Study). Dr. Lott’s conclusion addresses Michigan and

 other contested states:

        … The voter turnout rate data provides stronger evidence that there are
        significant excess votes in Arizona, Michigan, Nevada, and Wisconsin as
        well. While the problems shown here are large, there are two reasons to
        believe that they are underestimates: 1) the estimates using precinct level
        data assume that there is no fraud occurring with in-person voting and 2)
        the voter turnout estimates do not account for ballots for the opposing
        candidate that are lost, destroyed, or replaced with ballots filled out for
        the other candidate.

        We highlight the wide-spread complaints of election fraud separate and apart of

 Plaintiffs’ filing and evidence to show that many people have submitted evidence of

 reports and eye-witness testimony of fraud in the 2020 election.

        The State of Texas, along with Alabama, Arizona, Arkansas, Florida, Indiana,

 Kansas, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota,

 Oklahoma, South Carolina, South Dakota, Tennessee, Utah and West Virginia, sued

                                              43
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4154 Filed 01/19/21 Page 45 of 48




 the Defendant states, Michigan, Wisconsin, Georgia and the Commonwealth of

 Pennsylvania alleging that each of the Defendant states had election irregularities. (See

 Response to 1927 Motion).

    c. Moreover, Plaintiffs’ Complaint plead facts that the Defendant City does
       not actually dispute many facts plead in the Complaint.

              The first red flag is the Antrim County, Michigan “glitch” that
              switched 6,000 Trump ballots to Biden, and that was only
              discoverable through a manual hand recount. See supra Paragraph
              94. The “glitch” was later attributed to “clerical error” by
              Dominion and Antrim Country, presumably because if it were
              correctly identified as a “glitch”, “the system would be required to
              be ‘recertified’ according to Dominion officials. This was not
              done.” (See Am. Compl. at par. 136) (citing Exh. 104, Ramsland Aff.
              at ¶10. Mr. Ramsland points out that “the problem most likely did
              occur due to a glitch where an update file did not properly
              synchronize the ballot barcode generation and reading portions of
              the system.” Id. Further, such a glitch would not be an
              “isolated error,” as it “would cause entire ballot uploads to
              read as zero in the tabulation batch, which we also observed
              happening in the data (provisional ballots were accepted properly
              but in-person ballots were being rejected (zeroed out and/or
              changed (flipped)).” Id. Accordingly, Mr. Ramsland concludes that
              it is likely that other Michigan counties using Dominion may “have
              the same problem.” Id. (See Am. Compl. at par. 136)

              Tabulator issues and election violations occurred elsewhere in
              Michigan reflecting a pattern, where multiple incidents
              occurred. In Oakland County, votes flipped a seat to an incumbent
              Republican, Adam Kochenderfer, from the Democrat challenger
              when: “A computer issue in Rochester Hills caused them to send
              us results for seven precincts as both precinct votes and absentee
              votes. They should only have been sent to us as absentee votes,”
              Joe Rozell, Oakland County Director of Elections for the City of
              Huntington Woods, said.[4] (See Am. Compl. at pars. 131-132).
              The Oakland County flip of votes becomes significant because it
              reflects a second systems error, wherein both favored the
              Democrats, and precinct votes were sent out to be counted,
                                            44
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4155 Filed 01/19/21 Page 46 of 48




              and they were counted twice as a result until the error was caught
              on a recount. Precinct votes should never be counted outside of
              the precinct, and they are required to be sealed in the precinct. See
              generally, MCLS § 168.726. (See Id).
        These are just a few of the specific facts cited by Plaintiffs, which are not

 genuinely disputed, while Defendants cite to the Secretary of State’s opinion on a

 systems error, but Plaintiffs submit with both expert testimony in support, and the

 undisputed facts that two such incidents of “error” instead reflect evidence of a pattern

 of defects in the voting systems machines of tabulating ballots favoring one candidate

 not the other. Rather than allowing for a full investigation, these two well documented

 and known incidents -- which also include the legal violation of counting precinct

 ballots outside of the precinct, were instead summarily dismissed rather than reviewed

 substantively. The sheer gravity of those claims, and their implications on the integrity

 of our electoral system, justified counsel in pursuing every arguably permissible avenue

 to assist Plaintiffs in seeking redress.

    d. The State Defendants Failed to Identify Any “Discrete Acts of
       Misconduct” That Could Have Caused the City to Incur Any Additional
       Costs.
        As shown above, the City has not identified any “discrete acts of claimed

 misconduct,” Ruben, 825 F.2d at 990, much less shown that such purported misconduct

 “cause[d] additional expenses to” the City.” Id. at 984. Blanket and defamatory

 assertions cannot meet this requirement. In any case, all of City’s expenses are due to

 the City’s voluntary and unnecessary intervention in this proceeding. The City was not

 named as a party defendant to this action, but rather requested to intervene on its own

                                            45
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4156 Filed 01/19/21 Page 47 of 48




 motion following Plaintiffs’ filing of the initial complaint. (ECF No. 5). Indeed, neither

 the City, nor the other intervenors were a party to this action until this Court granted

 its motion to intervene by order entered December 2, 2020 (ECF No. 28), after

 Plaintiffs’ First Amended Complaint had already been filed. As a result, they do not

 have standing to make this claim, and even if the City could demonstrate that either the

 Complaint or the First Amended Complaint’s filing satisfied § 1927 (which it cannot),

 it cannot trace any expense to Plaintiffs’ counsel’s filing of the complaint. Since the City

 entered this litigation on its own motion after the action was already instituted, any

 sanctions must arise out the City’s expense resulting from some unreasonable and

 prolonging conduct occurring on or after the entry of Court’s order of December 2,

 2020.

 Plaintiffs’ counsel has not only done nothing to delay this proceeding, they have in fact

 taken every reasonable measure to expedite, and then to terminate the proceeding once

 their claims were no longer viable. This Court granted the request for expedited

 briefing, ECF No. 24, and based solely on the initial pleadings and responses, dismissed

 the TRO Motion a mere eight days later on December 7, 2020. ECF No. 62. Further,

 Plaintiffs have expeditiously, and concurrently within the 21 days of the service of the

 motion herein, moved for voluntary dismissal of the November 29, 2020 Amended

 Complaint, ECF No. 6.


                                     CONCLUSION


                                              46
Case 2:20-cv-13134-LVP-RSW ECF No. 95, PageID.4157 Filed 01/19/21 Page 48 of 48




        For all the foregoing reasons, the Plaintiffs and their counsel respectfully request

 that this Honorable Court deny the State Defendants’ motions for an award of

 sanctions and attorneys’ fees Rule 11. (ECF 78 and 84). Moreover, the City of Detroit

 should be ordered to pay Plaintiffs’ legal fees for opposing this motion pursuant to

 Federal Rule of Civil Procedure 11(c)(2).




                                          Respectfully submitted,


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                                              47
